UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE: TRIBUNE COMPANY FRAUDULENT                   Consolidated Multidistrict Action
CONVEYANCE LITIGATION                               No. 11-MD-2296 (RJS)
                                                    No. 12-MC-2296 (RJS)

MARC S. KIRSCHNER, as Litigation Trustee            Individual Action
for the TRIBUNE LITIGATION TRUST,                   No. 12-CV-6055 (RJS)

                      Plaintiff,

               -against-

CITIGROUP GLOBAL MARKETS INC. and
MERRILL LYNCH, PIERCE, FENNER &
SMITH INCORPORATED,

                      Defendants.




DECLARATION OF ANDREW G. GORDON IN SUPPORT OF CITIGROUP GLOBAL
     MARKETS INC. AND MERRILL LYNCH, PIERCE, FENNER & SMITH
INCORPORATED’S PHASE TWO MOTION TO DISMISS THE CITIGROUP ACTION
                    (PHASE TWO MOTION NO. 10)

ANDREW G. GORDON declares pursuant to 28 U.S.C. § 1746:

       1.      I am a member of the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP,

counsel for Defendant Citigroup Global Markets Inc (“CGMI”). I make this declaration in

support of CGMI and Merrill Lynch, Pierce, Fenner & Smith Incorporated’s (“MLPFS”) Phase

Two motion to dismiss the Citigroup Action, dated May 23, 2014 (Phase Two Motion No. 10). I

am admitted to practice before this Court.

       2.      Attached as Exhibit A is a true and correct copy of the CGMI Engagement Letter,

dated October 27, 2006.
       3.      Attached as Exhibit B is a true and correct copy of the MLPFS Engagement

Letter, dated October 17, 2005.

       4.      Attached as Exhibit C is a true and correct excerpt of the Tribune Company

Senior Credit Facility, dated May 17, 2007.

       5.      Attached as Exhibit D is a true and correct excerpt of the Tribune Company

Bridge Facility, dated December 20, 2007.

       6.      Attached as Exhibit E is a true and correct excerpt of the July 7, 2010 Sworn

Examination of Rosanne Kurmaniak, taken in connection with the filing of the Report of

Kenneth N. Klee, as Examiner, in In re: Tribune Co., No. 08-13141.

               I declare under penalty of perjury that the foregoing is true and correct.

Executed at:   New York, New York
               May 23, 2014


                                                              /s/ Andrew G. Gordon
                                                                 Andrew G. Gordon, Esq.




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